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WwW nd Answ

Pursuant to Judge Netbum’s statement dated August 30, 2018 with questions addressed to myself
related to the sanctions, I declare under the penalty of perjury under the laws of the United States
of Amenica that the forgoing is true and correct and are as follows:

The First Question’s Answer:

A bank account has been opened in Alinma Bank, a Saudi bank, with the following details:
Account Name: Wael Hamza A. Jelaidan

Account Number (IBAN): | SA92050000682009996 1 1000

Attached herewith a copy of the bank account statement showing the following:

1. Settling the debt of Mr. Osama Khalifa

. Deposit from my son Hassan, as most of the deposits are done by my son Hassan as loans.

- A deposit from the Retirement Department that has been paid after waiting for thirty years.

- A deposit from the Social Insurance Department that has been paid after waiting for more than
twenty years.

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Account in Switzerland
Messrs. Faisal Private Bureau,
3, Quai du Mont-Blanc

P.O Box [494,

1211 Geneva 1, Switzerland.
ww w Faisal privatebureau.com
Wael Jelaidan
00.010409_0.100

Account No. 3418

Account No. 3397
(Statements attached)

Account in Turkev:

Turkish Co. for Financing and joint-Stock partnership
Head Office Yafagic Site,

Adnan Qahwaji St. No. 139 38576 Qartal, Istanbul, Turkey.
Tel: 02164525454

Account No. 99007367-2

(Statement and documentation attached)

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Wael 'H. Jelaidan Ow or wy. oe)

The Second Question’s Answer:

1, Two installments of my debt to Mr. Osama Khalifa have been paid from my bank account in
Switzerland (in USD & Euro) attached herewith the proving correspondences and bank
documents, Loans taken from Mr. Osama Khalifa were to sustain livelihood.

2. One installment of my debt to Mr. Khalid Hussain has been paid from my bank account in
Turkey (in USD & Euro) attached herewith the proving correspondences and bank
documents. Loan taken from Mr. Khalid Hussain was to sustain livelihood.

The Third Question’s Answer:
My counsel Dr. Alim has been informed of settling the above mentioned debts on the settlement
dates or after taking the loans,

The Fourth Question’s Answer:
February 28, 2018.

The Fifth Question’s Answer:
Kindly refer to the Saudi Award Execution Regulation stating in case of non-settlement the debts,
the debtor shall be estopped from all public services escalating the point of imprisonment.

The Sixth Question’s Answer:

As per the attached emails and messages. Details given in the emails.

The Seventh Question’s Answer:
February 9, 2018.

The Eighth Question’s Answer:
No.

The Ninth Question’s Answer:
February 28, 2018.

The Tenth Question’s Answer:

As for Dr. Alim’s fees, I am still in debt to him. I have also signed a one time fixed fee agreement
with Mr. McMahon in addition to direct cost were paid by good Summaritans. Attached herewith
a copy of my letter to H.R.H Prince’ Naif bin Abdel-Aziz Al-Saud the former Crown Prince and
Minister of the Interior, requesting him to (as verbally promised) support me in paying the fees
of the Lawyers in both Saudi Arabia and the United States of America as I was and still am not
able to settle and pay that fees with the piling debts for almost two decades.

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Wael 'H. Jelaidan Oi 7 3 BY) |

The Eleventh Question's Answer:
I cannot pay and Tdo not know how it could be done.

The Twelfth Question’s Answer:
TL have no objection to pay the court, it is however my duty and priority to secure my livelihood

and my family’s needs.

The Thirteenth Question’s Answer:
Since I have already paid the lump sum fees and therefore cannot afford another attorney.

Executed on 26 September, 2018

Wael Hamzah Jelaidan
Jeddah, Saudi Arabia

| Hereby Certify

above signing person was present before
ea that the Sgnature. which appears on this
document, is his/her signature. This certification
does not assume any responsibility for the content
&/or legality of tnis document.

Bassim A. Alim, Esq. - Attorney at Law
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